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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


CORNELIO GARCIA                                     §
AND GRISELDA GARCIA,                                §
Plaintiffs,                                         §
                                                    §
V.                                                  §   CIVIL ACTION NO. 5:16-cv-1311
                                                    §         JURY DEMANDED
STARSTONE NATIONAL                                  §
INSURANCE COMPANY AND                               §
MILES RYAN MCCREADY,                                §
Defendants.                                         §

                     ORDER ON AGREED STIPULATION OF DISMISSAL

          After considering the parties' stipulation of dismissal for Plaintiffs Cornelio Garcia and

     Griselda Garcia, the Court

          GRANTS the stipulation and DISMISSES the case with prejudice as to All Defendants.

          SO ORDERED this              of               ''at     San Antonio, Texas.




                                                United States District Judge
